     Case 2:23-cv-00009-MEMF-AFM Document 15 Filed 02/28/23 Page 1 of 4 Page ID #:70



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5
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       E-mail:           jeffrey@maltzmanpartners.com
6
       Attorneys for Defendant. PRINCESS CRUISE LINES, LTD.
7

8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
        JANE DOE (B.U.)                    )   Case No. 2:23-cv-00009-MEMF-AFM
11                                             Action Filed: January 3, 2023
                    Plaintiff,             )
12                                         )   NOTICE OF MOTION OF
13
              v.                           )   DEFENDANT PRINCESS CRUISE
                                           )   LINES, LTD. TO DISMISS
14      PRINCESS CRUISE LINES,             )
        LTD., a corporation for profit,        PLAINTIFF’S COMPLAINT
15      PARK WEST GALLERIES, INC.          )
        a corporation for profit,          )   DATE:     June 1, 2023
16                                         )   TIME:     10:00 a.m.
                     Defendants.           )
17                                             LOC.:     Courtroom 8B
                                           )   JUDGE:    The Honorable Maame Ewusi-
18
                                           )   Mensah
19                                         )
20
                                           )   Trial Date: TBD
                                           )
21                                         )
22                                         )
                                           )
23                                         )
24                                         )
25
                                           )

26

27           TO THE COURT AND TO ALL COUNSEL OF RECORD:”)
28

                                                  1


        NOTICE OF MOTION OF DEFENDANT PRINCESS CRUISE LINES DISMISS PLAINTIFF’S COMPLAINT
     Case 2:23-cv-00009-MEMF-AFM Document 15 Filed 02/28/23 Page 2 of 4 Page ID #:71



1
             PLEASE TAKE NOTICE that on June 1, 2023 at 10:00 a.m., or as soon
2
       thereafter as counsel may be heard, in Courtroom 8B (8th floor) of the above-entitled
3
       Court located at 350 W. 1st Street, Los Angeles, CA. 90012 - defendant PRINCESS
4
       CRUISE LINES, LTD. (hereinafter “Defendant”) will, and hereby does move the
5
       Court for an order Dismissing Plaintiff Jane Doe’s (“Plaintiff’”) to Dismiss Plaintiff’s
6
       Complaint and Demand for Jury Trial (ECF No. 1, “Complaint”) pursuant to Fed. Rul.
7
       Civ. Proc. 12(b)(6), on the grounds that the Complaint violates the pleading standards
8

9
       of Federal Rule of Civil Procedure Rule 8; and thus, deprives Defendants of knowing

10
       exactly what they are accused of doing wrong, and on the grounds Plaintiff’s claims

11     for vicarious liability lack the factual allegations necessary to support the conclusions

12     alleged.
13                CERTIFICATE OF COMPLIANCE WITH CD CA L.R. – 7-3
14           This motion is made following several conferences of counsel pursuant to L.R.
15     7-3 which took place between February 16, 2023 and February 27, 2023. The Parties
16     were unable to agree on a resolution.
17           Defendant PRINCESS’s motion will based on this Notice and the
18     Memorandum of Points and Authorities filed concurrently herewith, the pleadings and
19     papers on file in this action, as well as any other written or oral evidence or argument
20     as may be submitted at the hearing of this motion.
21

22     DATED: February 28, 2023
23

24

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27

28                                             Respectfully submitted,
                                                      2


         NOTICE OF MOTION OF DEFENDANT PRINCESS CRUISE LINES DISMISS PLAINTIFF’S COMPLAINT
     Case 2:23-cv-00009-MEMF-AFM Document 15 Filed 02/28/23 Page 3 of 4 Page ID #:72



1
                                           MALTZMAN & PARTNERS, PA
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4                                          By: /s/ Jeffrey B. Maltzman
                                               Jeffrey B. Maltzman
5                                              Attorney for Defendant
6
                                               PRINCESS CRUISE LINES, LTD.

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        NOTICE OF MOTION OF DEFENDANT PRINCESS CRUISE LINES DISMISS PLAINTIFF’S COMPLAINT
     Case 2:23-cv-00009-MEMF-AFM Document 15 Filed 02/28/23 Page 4 of 4 Page ID #:73



1                                     CERTIFICATE OF SERVICE
2
         JANE DOE (B.U.) v. PRINCESS CRUISE LINES, LTD., a corporation for profit, PARK WEST
3                               GALLERIES INC., a corporation for profit
                                 Case No. 2:23-CV-00009-MEMF-AFM
4
              UNITED STATES DISTRICT COURT, CENTRAL DISTRIT OF CALIFORNIA
5

6

7       I HEREBY CERTIFY that on February 28, 2023, I electronically filed NOTICE OF MOTION
            OF DEFENDANT PRINCESS CRUISE LINES, LTD. TO DISMISS PLAINTIFF’S
8      COMPLAINT with the Clerk of the Court using the CM/ECF system, which will send notification
                                    of such filing to the following:
9

10
       Carol L. Finklehoffe, Esq.
11     LIPCON,MARGULIES & WINKLEMAN, P.A. One Biscayne
       Tower, Suite 1776
12                                                                        Attorney(s) for Plaintiff, JANE
       2 South Biscayne Boulevard
                                                                          DOE (B.U.)
13     Miami, FL 33131
       cfinklehoffe@lipcon.com
14

15

16             I declare under penalty of perjury under the laws of the United States of America and the
       State of California that the foregoing is true and correct.
17

18                                                                 s/ Jeffrey B. Maltzman
                                                                     Jeffrey B. Maltzman
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         NOTICE OF MOTION OF DEFENDANT PRINCESS CRUISE LINES DISMISS PLAINTIFF’S COMPLAINT
